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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

John Doe
                                    Plaintiff,
v.                                                      Case No.: 1:18−cv−07335
                                                        Honorable Steven C. Seeger
Loyola University Chicago
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 27, 2020:


         MINUTE entry before the Honorable Steven C. Seeger: Plaintiff's agreed motion
for extension of discovery and dispositive motion deadlines (Dckt. No. [75]) is hereby
granted. Fact discovery will close on May 28, 2020. Expert disclosures under Rule
26(a)(2) are due on May 18, 2020. Rebuttal expert disclosures are due by June 16, 2020.
Motions for summary judgment are due by July 16, 2020. The status and motion hearing
set for January 28, 2020 are stricken. Status hearing set for July 8, 2020 at 9:00 a.m.
Mailed notice. (jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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